Case 2:21-cv-00041-SCJ Document 1-1 Filed 02/16/21 Page 1 of 55




                                                                  Exhibit A:
                                                                  State Court
                                                                  Pleadings,
                                                                  Part 1 (with
                                                                  Key)
Case 2:21-cv-00041-SCJ Document 1-1 Filed 02/16/21 Page 2 of 55
Case 2:21-cv-00041-SCJ Document 1-1 Filed 02/16/21 Page 3 of 55
                        Case 2:21-cv-00041-SCJ Document 1-1 Filed 02/16/21 Page 4 of 55

                                                                                                      CLERK OF STATE COURT
                                                                                                    FORSYTH COUNTY, GEORGIA
                                                                                                      20SC-0395-A
                                   IN THE STATE COURT OF FORSYTH COUNTY                         Judge Leslie Abernathy-Maddox
                                              STATE OF GEORGIA                                      MAR 21, 2020 04:16 PM


                  STEPHANIE CAULEY,

                          Plaintiff,                              CIVIL ACTION
                  vs.
                                                                  FILE NO.:
                  WAL-MART STORES EAST, LP d/b/a
                  WALMART SUPERCENTER #588,                             JURY TRIAL DEMANDED
                  XYZ CORPORATION & JOHN DOE

                          Defendants.

                                             COMPLAINT FOR DAMAGES

                    COMES NOW STEPHANIE CAULEY, Plaintiff in the above-styled action and files this

             Complaint for Damages and shows the Court as follows:

                                                                1.

                    Defendant WAL-MART STORES EAST, LP d/b/a WALMART STORE #588

             (hereinafter, “Walmart”) is a foreign limited partnership existing under the laws of Delaware,

             whose principal office address is 708 SW 8th Street, Bentonville, AR 72716, who, at all times

             relevant to this action, owned and/or operated the premises upon which STEPHANIE CAULEY

             (hereinafter, “Plaintiff”) sustained the injuries which form the basis of this action, and

             maintained an office and place of doing business in Dougherty County, GA, located at 2825

             Ledo Road, Albany, and is subject to the jurisdiction of this Court as a joint tortfeasor.

             Defendant Walmart may be served through its registered agent, The Corporation Company, at

             112 North Main Street, Cumming, GA 30040. Venue is proper.

                                                                2.

                    Defendant XYZ Corporation (hereinafter, “XYZ Corporation”) occupied the position of

             the unknown vendor of the premises where the subject incident occurred, and at all times

             relevant to this action, was acting within the scope of employment for Defendant Walmart on the
                                                                                                                1



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             premises where Plaintiff sustained the injuries which form the basis of this action and whose acts

             and/or omissions are believed to have contributed to Plaintiff’s claims for damages and is subject

             to the jurisdiction and venue of this Court.

                                                                  3.

                    Defendant JOHN DOE, (hereinafter, “Doe”) is an unidentified individual who, at all

             times relevant to this action, was acting within the scope of employment for Defendant Walmart

             and/or XYZ Corporation on the premises where Plaintiff sustained the injuries which form the

             basis of this action and whose acts and/or omissions contributed to Plaintiff’s damages and is

             subject to the jurisdiction and venue of this Court.

                                                      BACKGROUND

                                                             5.

                    On or about December 28, 2018, Plaintiff was upon the premises of Walmart Store #588

             (hereinafter, “the store”) located at 2825 Ledo Road, Albany, Georgia 31707, a business owned

             and/or operated by Defendant Walmart and/or XYZ Corporation, as an invitee.

                                                             6.

                    Plaintiff, through no failure to exercise reasonable care for her own safety, was walking in

             and/or near the store premises and was injured as a result of slipping on a wet, slick and/or

             hazardous substance which was caused by, upon information and belief, a static defect, upon

             information and belief a refrigerator and/or cooler leaking into the aisleway.

                                                             7.

                    There were no warning signs in the area where the wet, slick and/or hazardous substance

             and/or static defect was present when Plaintiff’s incident occurred.




                                                                                                              2



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                                                               8.

                     Defendant Walmart and/or XYZ Corporation had exclusive ownership, possession and

             control over the store at all times relevant to this action.

                                                               9.

                     As a result of Plaintiff’s fall, she suffered bodily injury.

                                                        COUNT I
                                                   PREMISES LIABILITY

                                                               10.

                     Plaintiff realleges and incorporates the allegations contained in paragraphs 1 through 9

             above as if fully stated herein.

                                                               11.

                     Plaintiff was an invitee on the store premises at the time of the incident.

                                                               12.

                     Defendant Walmart and/or XYZ Corporation owed a nondelegable duty of reasonable

             care in keeping the store premises safe for invitees such as Plaintiff.

                                                               13.

                     Plaintiff did not know and could not reasonably have learned of the danger posed by the

             wet, slick and/or hazardous substance and/or static defect without proper notice or warning.

                                                               14.

                     Defendant Walmart and/or XYZ Corporation had actual and/or constructive knowledge of

             the existence of the hazard, knew or should have known that the presence of the wet, slick and/or

             hazardous substance and/or static defect posed a danger to invitees on the store premises, and

             should have notified or warned invitees about this hazard.

                                                                                                                3



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                                                              15.

                    Defendant Walmart and/or XYZ Corporation was negligent in failing to properly inspect

             the area where the incident occurred, in failing to remedy the presence of the wet, slick and/or

             hazardous substance and/or static defect, in failing to take adequate measures to protect invitees,

             and in failing to keep the premises safe for invitees.

                                              COUNT II
                         LIABILITY OF DEFENDANTS WALMART, XYZ CORPORATION
                                            AND JOHN DOE

                                                              16.

                    Plaintiff realleges and incorporates the allegations contained in paragraphs 1 through 15

             above as if fully stated herein.

                                                              17.

                    At all times relevant to this action, Defendant Walmart, Defendant XYZ Corporation and

             Defendant Doe had a duty to reasonably inspect, clean, repair and maintain the area where

             Plaintiff’s incident occurred.

                                                              18.

                    Defendant Walmart, Defendant XYZ Corporation and Defendant Doe negligently failed to

             inspect, clean, repair and maintain the area where Plaintiff’s fall occurred and negligently failed

             to take reasonable measures to ensure the safety of invitees on the premises and warn invitees such

             as Plaintiff of the presence of the wet, slick and/or hazardous substance and/or static defect.




                                                                                                                4



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                                                     COUNT III
                                                VICARIOUS LIABILITY

                                                            19.

                    Plaintiff realleges and incorporates herein the allegations contained in paragraphs 1 through

             18 above as if fully restated.

                                                            20.

                    At all times relevant to this action, Defendant Doe and other individuals responsible for

             inspecting, cleaning, repairing and maintaining the area where the Plaintiff’s incident occurred

             were employed by Defendant Walmart and/or XYZ Corporation and were acting within the scope

             of their employment.

                                                            21.

                    Defendant Walmart and/or XYZ Corporation is responsible for the conduct of these

             individuals under the doctrine of Respondeat Superior, agency or apparent agency.

                                                 COUNT IV
                                      NEGLIGENT TRAINING & SUPERVISION

                                                            22.

                    Plaintiff realleges and incorporates herein the allegations contained in paragraphs 1 through

             21 above as if fully restated.

                                                            23.

                    Defendants were negligent in failing to adopt appropriate policies and procedures to make

             sure that invitees receive appropriate notice or warning of hazardous conditions on the store

             premises and in failing to train their employees concerning safety procedures for maintaining the

             store premises.




                                                                                                               5



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                                                              24.

                    Defendants were negligent in training and supervising their staff.

                                                              25.

                    As a direct and proximate result of the individual and joint negligence of Defendants,

             Plaintiff suffered bodily injuries, lost wages, and medical expenses, in an amount TBD.

                   Provider:                                                 Dates of Service:         Amount:

              1.   Emory Hospital Johns Creek                                TBD                       TBD

              2.   Emory University Hospital                                 TBD                       TBD

              3.   Emory Brain and Health Center                             TBD                       TBD

              4.   Phoebe Sumter                                             TBD                       TBD

                                                              26.


                    As a direct and proximate result of the Defendants’ negligence, Plaintiff is entitled to an

             award of special damages for medical expenses and lost wages in an amount to be shown at trial,

             and general damages in an amount to be determined by this court against the Defendants, all in an

             amount TBD.

                    WHEREFORE, Plaintiff prays as follows:

                    a) That process be issued, and the Defendants be served with process as provided by law;

                    b) That Plaintiff have a trial by jury on all issues so triable;

                    c) That Plaintiff have a verdict and judgment against the Defendants to compensate

                         Plaintiff for all special, general, compensatory and consequential damages in an amount

                         proven at trial to be adequate and just;

                    d) That all costs be cast against the Defendants; and

                    e) That this Court grant such other and further relief as it deems appropriate.
                                                                                                              6



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                        Respectfully submitted this 21st day of March, 2020.



                                                         _/s/Johnny G. Phillips__________
                                                         Johnny G. Phillips
                                                         Georgia State Bar No. 382150
                                                         Adam Kemmerick
                                                         Georgia State Bar No. 684896
                                                         Attorney for Plaintiff

             Law Office of Johnny Phillips, PC
             12 Jackson Street
             Newnan, Georgia 30263
             P: (404) 487-0184
             F: (404) 487-0183
             Johnny@johnnyphillipslaw.com




                                                                                            7



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                                                                                      CLERK OF STATE COURT
                                                                                    FORSYTH COUNTY, GEORGIA
                                                                                      20SC-0395-A
                       IN THE STATE COURT OF FORSYTH COUNTY                     Judge Leslie Abernathy-Maddox
                                                                                    MAR 21, 2020 04:16 PM
                                  STATE OF GEORGIA

     STEPHANIE CAULEY,

              Plaintiff,                              CIVIL ACTION
     vs.
                                                      FILE NO.:
     WAL-MART STORES EAST, LP d/b/a
     WALMART SUPERCENTER #588, XYZ
     CORPORATION & JOHN DOE,

              Defendants.

                  RULE 5.2 CERTIFICATE OF SERVICE OF DISCOVERY

       I HEREBY CERTIFY that I have served a copy of Plaintiff’s First Interrogatories, Request
to Produce Documents and Request for Admissions to Defendant Wal-Mart Stores East, LP upon
all parties in this matter by including a true and correct copy of same which is to be served
contemporaneously with the complaint and summons by a Deputy of the Sheriff’s Office or other
proper Process Server, as approved by the Georgia Civil Practice Act, who is to effectuate service
at the following address:

                                   Wal-Mart Stores East, LP
                                 RA: The Corporation Company
                                     112 North Main Street
                                     Cumming, GA 30040


       Respectfully submitted this 21st day of March, 2020.


                                                    _/s/Johnny G. Phillips____________
                                                    Johnny G. Phillips
                                                    State Bar No. 382150
                                                    Adam Kemmerick
                                                    State Bar No. 684896
                                                    Attorney for Plaintiff

LAW OFFICE OF JOHNNY PHILLIPS, PC
12 Jackson Street
Newnan, Georgia 30263
       Case 2:21-cv-00041-SCJ Document 1-1 Filed 02/16/21 Page 12 of 55




Phone (404) 487-0184 | Fax (404) 487-0183
Johnny@johnnyphillipslaw.com
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                                  STATE COURT OF FORSYTH COUNTY                                             CLERK OF STATE COURT
                                                                                                          FORSYTH COUNTY, GEORGIA
                                         STATE OF GEORGIA
                                                                                                            20SC-0395-A
                                                                                                     Judge Leslie Abernathy-Maddox
                                                                                                         MAR 21, 2020 04:16 PM




                                        CIVIL ACTION NUMBER 20SC-0395-A
                    Cauley, Stephanie

                    PLAINTIFF
                                                               VS.
                    Wal-Mart Stores East, LP, DBA Walmart
                    Supercenter #588

                    DEFENDANT


                                                            SUMMONS
                    TO: WAL-MART STORES EAST, LP

                    You are hereby summoned and required to file with the Clerk of said court and serve upon the
                    Plaintiff's attorney, whose name and address is:
                                                Johnny Phillips
                                                Law Office of Johnny Phillips
                                                12 Jackson ST
                                                NEWNAN, Georgia 30263
                    an answer to the complaint which is herewith served upon you, within 30 days after service of
                    this summons upon you, exclusive of the day of service. If you fail to do so, judgment by
                    default will be taken against you for the relief demanded in the complaint.

                    This 21st day of March, 2020.
                                                                     Clerk of State Court




                                                                                                        Page 1 of 1


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                                                                            CLERK OF STATE COURT
                                                                          FORSYTH COUNTY, GEORGIA
                                            Forsyth                         20SC-0395-A
                                                                       Judge Leslie Abernathy-Maddox
                                                                           MAR 21, 2020 04:16 PM

               03-21-2020                             20SC-0395-A




Cauley, Stephanie                           Wal-Mart Stores East, LP




                    Phillips, Johnny                     382150
          Case 2:21-cv-00041-SCJ Document 1-1 Filed 02/16/21 Page 15 of 55
                                                                                              9 COURT
                                                                                   CLERK OF STATE
                                                                                 FORSYTH COUNTY, GEORGIA
                                                                                  20SC-0395-A
                      IN THE STATE COURT OF FORSYTH COUNTY                  Judge Leslie Abernathy-Maddox
                                 STATE OF GEORGIA                               MAR 25, 2020 02:46 PM


    STEPHANIE CAULEY,

             Plaintiff,
    vs.                                             CIVIL ACTION

    WAL-MART STORES EAST, LP d/b/a                  FILE NO.: 20SC-0395-A
    WALMART SUPERCENTER #588, XYZ
    CORPORATION & JOHN DOE,

             Defendants.


                          CERTIFICATE OF SERVICE OF DISCOVERY
      I hereby certify that I have served the following documents by US Mail, postage prepaid
on March 25, 2020. to each of the persons listed below:
   1. Non-Party Request for Production of Documents to Phoebe Sumter Medical Center.


                                      Wal-Mart Stores East, LP
                                    RA: The Corporation Company
                                        112 North Main Street
                                        Cumming, GA 30040




                                           _____/s/Johnny G. Phillips_________
                                                  Johnny G. Phillips
                                                  Georgia Bar No. 382150
                                                  Attorney for Plaintiff


Law Office of Johnny Phillips, Pc
12 Jackson Street
Newnan, GA 30263
(P) 404-487-0184
(F) 404-487-0183
Johnny@johnnyphillipslaw.com
                    Case 2:21-cv-00041-SCJ Document 1-1 Filed 02/16/21 Page 16 of 55

                                                                                 CLERK OF STATE COURT
                                                                               FORSYTH COUNTY, GEORGIA
                                                                                 20SC-0395-A
                                                                            Judge Leslie Abernathy-Maddox
                                                                                JUN 04, 2020 10:50 AM




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                                                                                                  CLERK OF STATE COURT
                                                                                                FORSYTH COUNTY, GEORGIA
                                                                                                 20SC-0395-A
                                    IN THE STATE COURT OF FORSYTH COUNTY                    Judge Leslie Abernathy-Maddox
                                               STATE OF GEORGIA                                 JUL 23, 2020 04:44 AM



                  STEPHANIE CAULEY,

                           Plaintiff,                                CIVIL ACTION
                  vs.
                                                                     FILE NO.: 20SC-0395-A
                  WAL-MART STORES EAST, LP d/b/a
                  WALMART SUPERCENTER #588, XYZ
                  CORPORATION & JOHN DOE,

                           Defendants.

                                             SUBSTITUTION OF COUNSEL

                    COMES NOW, Christopher N Reilly of the Law Office of Johnny Phillips and appears

             as the counsel for Plaintiff STEPHANIE CAULEY. The undersigned attorney stipulates that the

             name of Christopher N Reilly shall be substituted as counsel for Plaintiff, STEPHANIE CAULEY,

             in place of Adam kemmerick and requests that all notices, correspondence and court calendars be

             sent to the attention of the undersigned at the address set out below.

                    Respectfully submitted, this 22nd day of July, 2020.


                                                                   Respectfully Submitted By:

                                                                  ___/s/Johnny G. Phillips________
                                                                  JOHNNY G. PHILLIPS
                                                                  Georgia Bar No. 382150
                                                                  CHRISTOPHER N REILLY
                                                           Georgia Bar No. 163424
                                                                  Attorneys for Plaintiff




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             LAW OFFICE OF JOHNNY PHILLIPS
             12 JACKSON STREET
             NEWNAN GEORGIA 30263
             (404) 487-0184
             FAX: (404) 439-1190
             chris@johnnyphillipslaw.com




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                                              CERTIFICATE OF SERVICE

                    I hereby certify that I have served a true and correct copy of the foregoing Substitution of

             Counsel with all opposing counsel of record listed below by electronic filing or by depositing same

             in the U.S. Mail with sufficient postage affixed to ensure delivery to:




                    Respectfully submitted, this 23rd day of July, 2020.




                                                                   Respectfully Submitted By:

                                                                   __/s/Johnny G. Phillips________
                                                                   JOHNNY G. PHILLIPS
                                                                   Georgia Bar No. 382150
                                                                   Attorney for Plaintiff
                                                                   CHRISTOPHER N REILLY
                                                                   Georgia Bar No. 163424
                                                                   Attorneys for Plaintiff

             LAW OFFICE OF JOHNNY PHILLIPS
             12 JACKSON STREET
             NEWNAN GEORGIA 30263
             (404) 487-0184
             FAX: (404) 439-1190
             chris@johnnyphillipslaw.com




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                                                                                 CLERK OF STATE COURT
                                                                               FORSYTH COUNTY, GEORGIA
                                                                                 20SC-0395-A
                                                                            Judge Leslie Abernathy-Maddox
                                                                                AUG 04, 2020 11:51 AM




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                                                                                 CLERK OF STATE COURT
                                                                               FORSYTH COUNTY, GEORGIA
                                                                                 20SC-0395-A
                                                                            Judge Leslie Abernathy-Maddox
                                                                                AUG 04, 2020 11:51 AM




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                                                                                 CLERK OF STATE COURT
                                                                               FORSYTH COUNTY, GEORGIA
                                                                                 20SC-0395-A
                                                                            Judge Leslie Abernathy-Maddox
                                                                                SEP 01, 2020 03:09 PM




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                                                             CLERK OF STATE COURT
                                                           FORSYTH COUNTY, GEORGIA
                                                             20SC-0395-A
                                                        Judge Leslie Abernathy-Maddox
                                                            SEP 01, 2020 03:09 PM
Case 2:21-cv-00041-SCJ Document 1-1 Filed 02/16/21 Page 36 of 55
Case 2:21-cv-00041-SCJ Document 1-1 Filed 02/16/21 Page 37 of 55
Case 2:21-cv-00041-SCJ Document 1-1 Filed 02/16/21 Page 38 of 55

                                                             CLERK OF STATE COURT
                                                           FORSYTH COUNTY, GEORGIA
                                                             20SC-0395-A
                                                        Judge Leslie Abernathy-Maddox
                                                            SEP 08, 2020 04:30 PM
                    Case 2:21-cv-00041-SCJ Document 1-1 Filed 02/16/21 Page 39 of 55

                                                                                 CLERK OF STATE COURT
                                                                               FORSYTH COUNTY, GEORGIA
                                                                                 20SC-0395-A
                                                                            Judge Leslie Abernathy-Maddox
                                                                                NOV 20, 2020 12:48 PM




                                           November 20, 2020




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                                                                        CLERK OF STATE COURT
                                                                      FORSYTH COUNTY, GEORGIA
                                                                        20SC-0395-A
                                                                   Judge Leslie Abernathy-Maddox
                                                                       DEC 23, 2020 03:21 PM
                 IN THE STATE COURT OF FORSYTH COUNTY
                            STATE OF GEORGIA

STEPHANIE CAULEY,                                       Civil Action File No.
                                                        20SC-0395-A
            Plaintiff,
v.

WAL-MART STORES EAST, LP d/b/a
WALMART SUPERCENTER #588,
XYZ CORPORATION & JOHN DOE,

            Defendants.
                                     /

                          ENTRY OF APPEARANCE

      COMES NOW Nicholas E. Deeb of the law firm of McLain & Merritt, P.C.

and enters an appearance as an attorney of record for the Defendant Wal-Mart

Stores East, LP. Copies of all correspondence and pleadings should be directed to

Nicholas E. Deeb at McLain & Merritt, P.C., 3445 Peachtree Road, NE, Suite 500,

Atlanta, Georgia 30326, ndeeb@mmatllaw.com.

      This 23rd day of December, 2020.

                                     McLAIN & MERRITT, P.C.

                                     /s/ Nicholas E. Deeb
                                     Nicholas E. Deeb
                                     Georgia State Bar No. 117025
                                     Attorney for Defendant
3445 Peachtree Road, N.E.
Suite 500
Atlanta GA 30326-3240
(404) 365-4535

                                                                            Page -1-
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ndeeb@mmatllaw.com




                                                                        Page -2-
      Case 2:21-cv-00041-SCJ Document 1-1 Filed 02/16/21 Page 43 of 55




                       CERTIFICATE OF SERVICE

      This is to certify that on this day, I electronically filed ENTRY OF

APPEARANCE with the Clerk of Court using the Peachcourt E-File System

which will automatically send email notification of such filing to attorneys of

record.

            This the 23rd day of December, 2020.

                                    McLAIN & MERRITT, P.C.

                                    /s/ Nicholas E. Deeb
                                    Nicholas E. Deeb
                                    Georgia State Bar No. 117025
                                    Attorney for Defendant


3445 Peachtree Road, N.E.
Suite 500
Atlanta GA 30326-3240
(404) 365-4535
ndeeb@mmatllaw.com




                                                                         Page -3-
        Case 2:21-cv-00041-SCJ Document 1-1 Filed 02/16/21 Page 44 of 55

                                                                                     CLERK OF STATE COURT
                                                                                   FORSYTH COUNTY, GEORGIA
                                                                                     20SC-0395-A
                 IN THE STATE COURT OF FORSYTH COUNTYJudgeJAN
                                                            Leslie Abernathy-Maddox
                                                              15, 2021 12:43 PM
                            STATE OF GEORGIA

STEPHANIE CAULEY,              )
                               )
      Plaintiff,               )
                               )
v.                             )    Civil Action File
                               )    No. 20SC-0395-A
WAL-MART STORES EAST LP        )
d/b/a WAL-MART SUPERCENTER )
#588; XYZ CORPORATION; and     )
JOHN DOE,                      )
                               )
      Defendants.              )
_________________________________________________________________

                                          RULE NISI

       Default judgment having been entered in favor of Plaintiff on November 20, 2020, and
Plaintiff having requested a final hearing on damages; the parties are hereby noticed to appear
for final hearing via virtual format at 9:00 a.m. on February 26th, 2021, before the Honorable
Judge Abernathy-Maddox.


       In light of the usage of the virtual system Microsoft Teams for said court session, all
parties are required to respond via email to awilson@forsythco.com within ten (10) days of entry
of this Rule Nisi as to the following:
       1.   Estimated time of your hearing
       2. Number of witnesses each side intends to call
       3. Whether the case is to be reported
       4. Any conflicts


       Once the Court has established the schedule of cases and created the session utilizing
Microsoft Teams, your scheduled time will be distributed via email prior to the date of the
calendar. Any party is entitled to join upon call of the calendar or at your designated time. All

                                             Page 1 of 2
       Case 2:21-cv-00041-SCJ Document 1-1 Filed 02/16/21 Page 45 of 55




parties must have video and audio capability on the electronic device each party intends
download Microsoft teams to utilize for the hearing, so the cases are heard as efficiently and
expeditiously as the cases would otherwise be heard in person.




              SO ORDERED this 15th day of January, 2021.


                             ________________________________________________
                             LESLIE C. ABERNATHY-MADDOX
                             Judge, State Court of Forsyth County
                             Bell-Forsyth Judicial Circuit




cc:    Christopher N. Reilly, Attorney for Plaintiff
       Wal-Mart Stores East L.P.




                                            Page 2 of 2
        Case 2:21-cv-00041-SCJ Document 1-1 Filed 02/16/21 Page 46 of 55

                                                                                       CLERK OF STATE COURT
                                                                                     FORSYTH COUNTY, GEORGIA
                                                                                       20SC-0395-A
                       IN THE STATE COURT OF FORSYTH COUNTY                      Judge Leslie Abernathy-Maddox
                                  STATE OF GEORGIA                                   JAN 28, 2021 01:54 PM


STEPHANIE CAULEY,                                            Civil Action File No.
                                                             20SC-0395-A
               Plaintiff,
v.

WAL-MART STORES EAST, LP,
d/b/a WALMART SUPERCENTER #588,
XYZ CORPORATION & JOHN DOE,

               Defendants.
                                                                       /

                                 ANSWER OF DEFENDANT
                                WAL-MART STORES EAST, LP

       COMES NOW, Defendant WAL-MART STORES EAST, LP, and after paying all costs

in the amount of $_____, make this Answer to Plaintiff's Complaint as follows:

                                        FIRST DEFENSE

       Plaintiff's Complaint fails to state a claim against Defendant upon which relief can be

granted.

                                       SECOND DEFENSE

       Plaintiff's alleged damages, if any, were directly and proximately caused by Plaintiff's own

contributory negligence and failure to exercise ordinary care.

                                        THIRD DEFENSE

       Plaintiff was not in the exercise of ordinary care for her own safety in the premises, and by

the exercise of ordinary care could have avoided any injury to herself; and on account thereof,

Plaintiff is not entitled to recover from Defendant.




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                                       FOURTH DEFENSE

        Defendant denies that it was negligent in any manner whatsoever or that any negligent act

or omission on its part caused or contributed to any injury or damage alleged to have been sustained

by Plaintiff.

                                        FIFTH DEFENSE

        Plaintiff assumed the risk of any hazard that was presented and is thereby barred from

recovering against Defendant.

                                        SIXTH DEFENSE

        Defendant responds to the enumerated paragraphs of Plaintiff's Complaint as follows:

                                                1.

        Defendant denies the allegations contained in paragraph 1 of the Plaintiff's Complaint.

                                                     2.

        Defendant denies the allegations contained in paragraph 2 of Plaintiff's Complaint.

                                                     3.

        Defendant denies the allegations contained in paragraph 3 of Plaintiff's Complaint.

                                                     4.

        There is no paragraph 4, but, just in case, Defendant denies the allegations contained in

paragraph 4 of Plaintiff's Complaint, if any.

                                                5.

        Defendant lacks sufficient information to admit or deny the allegations contained in

paragraph 5 of the Plaintiff's Complaint, and, thus, the same are denied.




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                                             6.

       Defendant denies the allegations contained in paragraph 6 of the Plaintiff's Complaint.

                                                  7.

       Defendant denies the allegations contained in paragraph 7 of the Plaintiff's Complaint.

                                                  8.

       Defendant denies the allegations contained in paragraph 8 of Plaintiff's Complaint.

                                                  9.

       Defendant denies the allegations contained in paragraph 9 of Plaintiff's Complaint.

                                                  10.

       Defendant hereby incorporates all previous paragraphs of this answer to Plaintiff's

Complaint.

                                                  11.

       Defendant lacks sufficient information to admit or deny the allegations contained in

paragraph 11 of the Plaintiff's Complaint, and, thus, the same are denied.

                                                  12.

       Defendant denies the allegations contained in paragraph 12 of Plaintiff's Complaint.

                                                  13.

       Defendant denies the allegations contained in paragraph 13 of Plaintiff's Complaint.

                                                  14.

       Defendants denies the allegations contained in paragraph 14 of Plaintiff's Complaint.

                                                  15.

       Defendant denies the allegations contained in paragraph 15 of Plaintiff's Complaint.


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                                                 16.

          Defendant hereby incorporates all previous paragraphs of this answer to Plaintiff's

Complaint.

                                                 17.

          Defendant denies the allegations contained in paragraph 17 of Plaintiff's Complaint.

                                                 18.

          Defendant denies the allegations contained in paragraph 18 of Plaintiff's Complaint.

                                                 19.

          Defendant hereby incorporates all previous paragraphs of this answer to Plaintiff's

Complaint.

                                                 20.

          Defendant denies the allegations contained in paragraph 20 of Plaintiff's Complaint, as

stated.

                                                 21.

          Defendant denies the allegations contained in paragraph 21 of Plaintiff's Complaint.

                                                 22.

          Defendant hereby incorporates all previous paragraphs of this answer to Plaintiff's

Complaint.

                                                 23.

          Defendant denies the allegations contained in paragraph 23 of Plaintiff's Complaint.

                                                 24.

          Defendant denies the allegations contained in paragraph 24 of Plaintiff's Complaint.


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                                                25.

       Defendant denies the allegations contained in paragraph 25 of Plaintiff's Complaint.

                                                26.

       Defendant denies the allegations contained in paragraph 26 of Plaintiff's Complaint.

                                                27.

       All other allegations contained in the Complaint which are not specifically responded to

herein, are, therefore, denied.

                                                28.

       Defendants deny Plaintiff's prayer for relief, including subparagraphs a., b., c., d., and e.,

thereof.

       WHEREFORE, Defendants pray that Plaintiff's Complaint be dismissed with all costs cast

upon the Plaintiff.    DEFENDANTS DEMAND TRIAL BY A JURY OF TWELVE (12)

PERSONS AS TO ALL ISSUES SO TRIABLE.

                                              McLAIN & MERRITT, P.C.


                                              /s/ Howard M. Lessinger
                                              Howard M. Lessinger
                                              Georgia Bar No. 447088


                                              /s/ Nicholas E. Deeb
                                              Nicholas E. Deeb
                                              Georgia Bar No. 117025
                                              Attorneys for Defendant
                                              WAL-MART STORES EAST, LP
3445 Peachtree Road, N.E.
Suite 500
Atlanta GA 30326
(404) 365-4514


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ndeeb@mmatllaw.com




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                               CERTIFICATE OF SERVICE

      I hereby certify that a copy of the above and foregoing ANSWER OF DEFENDANT

WAL-MART STORES EAST, LP has this day been filed and served upon opposing counsel via

Peachcourt eFileGA.

      This the 27th day of January, 2021.

                                            McLAIN & MERRITT, P.C.



                                             /s/ Nicholas E. Deeb
                                            Howard M. Lessinger
                                            Georgia Bar No. 447088
                                            Nicholas E. Deeb
                                            Georgia Bar No. 117025
                                            Attorneys for Defendant
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ndeeb@mmatllaw.com




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                           IN THE STATE COURTOF FORSYTH COUNTY
                                      STATE OF GEORGIA

STEPHANIE CAULEY,                                                      Civil Action File No.
                                                                       20sc-039s-A
                  Plaintiff,
v.

WAL-MART STORES EAST, LP,
d/b/a WALMART SUPERCENTER #5 88,
XYZ CORPORATION &JOHN DOE,

                  Defendants.


                                       YERIFICATION OF ANSWER
       personally appeared before me, the undersigned officer duly authoized to administer

out@,                   ---- -           who after first being swom, deposes and states:
              r
       ^                                     am the   AOSe*PoLechrm runmg-*                      Wal-Mart store
       @,
number 588 located             at   2825 Ledo Rd., Albany, Georgia, and             I   am a representative of

Defendant Wal-Mart Stores East, LP herein; that               I   have read the foregoing Answer, and know

the contents thereof, and that the same is true to thebest of my knowledge and belief'

       FURTHER AFFIANT SAYETH NOT.

       This   aA     day   of   &n.         ,2021.



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 NotaryPublic

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                                                                          CLERK OF STATE COURT
                                                                        FORSYTH COUNTY, GEORGIA
                                                                           20SC-0395-A
               IN THE STATE COURT OF FORSYTH COUNTY JudgeJAN
                                                           Leslie Abernathy-Maddox
                                                             28, 2021 01:54 PM
                          STATE OF GEORGIA

STEPHANIE CAULEY,                                  Civil Action File No.
                                                   20SC-0395-A
Plaintiff,

v.

WALMART STORES EAST, LP
D/B/A WALMART #588,
JOHN DOE AND XYZ CORPORATION,

Defendants.
                                      /

                         12-PERSON JURY DEMAND

       COMES NOW Defendant, WALMART STORES EAST, LP and demands a

trial by a jury of twelve (12) persons on all issues, including, but not limited to,

liability and damages.

                                      McLAIN & MERRITT, P.C.

                                      /s/ Nicholas E. Deeb
                                      Howard M. Lessinger
                                      Georgia Bar No. 447088
                                      Nicholas E. Deeb
                                      Georgia Bar No. 117025
                                      Attorneys for Defendant
                                      WALMART STORES EAST, LP
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hlessinger@mmatllaw.com
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                           CERTIFICATE OF SERVICE

      I hereby certify that a copy of the above and foregoing 12-PERSON JURY

DEMAND has this day been filed and served upon opposing counsel via Peachcourt

E-File.

      This the     28th     day of January, 2021.

                                       McLAIN & MERRITT, P.C.

                                       /s/ Nicholas E. Deeb
                                       Howard M. Lessinger
                                       Georgia Bar No. 447088
                                       Nicholas E. Deeb
                                       Georgia Bar No. 117025
                                       Attorneys for Defendant
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